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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                   :
Michael Reaves,                                    :
                                                   :
                        Plaintiff,                 :
                                                     Civil Action No.: ______
                                                   :
       v.                                          :
                                                   :
Verizon Wireless; and DOES 1-10, inclusive,        :
                                                   :
                        Defendants.                :
                                                   :
                                                   :

                                            COMPLAINT

               Plaintiff, Michael Reaves, says by way of Complaint against Defendant, Verizon

Wireless, as follows:

                                          JURISDICTION

       1.      This action arises out of Defendants’ repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

       2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that

Defendants transact business here, Plaintiff resides in this judicial district, and a substantial

portion of the acts giving rise to this action occurred here.


                                              PARTIES

       4.      The Plaintiff, Michael Reaves (“Plaintiff”), is an adult individual residing in

Trenton, New Jersey.

       5.      Defendant Verizon Wireless (“Verizon”), is a New York business entity with an

address of 2000 Corporate Drive, Orangeburg, New York 10962.
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       6.      Does 1-10 (the “Agents”) are individual employees/agents employed by Verizon

and whose identities are currently unknown to the Plaintiff. One or more of the Agents may be

joined as parties once their identities are disclosed through discovery.

       7.      Verizon at all times acted by and through one or more of the Agents.

                                              FACTS

       8.      Within the last four years, Verizon placed calls Plaintiff’s cellular telephone.

       9.      At all times referenced herein, Verizon placed calls to Plaintiff’s cellular

telephone in an attempt to collect a debt.

       10.     Verizon placed calls to Plaintiff’s cellular telephone by using an automated

telephone dialer system (“ATDS”) and/or by using an artificial or prerecorded voice.

       11.     When Plaintiff answered the calls from Verizon, he heard a prerecorded message

delivered by Verizon.

       12.     Often times when Plaintiff answered a call from Verizon, he was met with music

and there was not a person available with whom Plaintiff could speak.

       13.     Plaintiff never provided his cellular telephone number to Verizon and never

provided his consent to Verizon to be contacted on his cellular telephone.

       14.     The telephone number called by Verizon was assigned to a cellular telephone

service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

       15.     The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).




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                                             COUNT I
         VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT – 47
                                       U.S.C. § 227, et. seq.
       16.  The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       17.     Without prior consent the Defendants contacted the Plaintiff by means of

automatic telephone calls or prerecorded messages at a cellular telephone or pager in violation of

47 U.S.C. § 227(b)(1)(A)(iii).

       18.     Verizon placed calls to Plaintiff’s cellular telephone using prerecorded voice

knowing that it lacked consent to call his number. As such, each call placed to Plaintiff was

made in knowing and/or willful violation of the TCPA, and subject to treble damages pursuant to

47 U.S.C. § 227(b)(3)(C).

       19.     As a result of each call made in negligent violation of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

       20.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:


               A. Statutory damages of $500.00 for each violation determined to be negligent

                   pursuant to 47 U.S.C. § 227(b)(3)(B);

               B. Treble damages for each violation determined to be willful and/or knowing

                   pursuant to 47 U.S.C. § 227(b)(3)(C);


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             C. Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: March 12, 2013

                                           Respectfully submitted,

                                           By: /s/ Sofia Balile

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